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                           EXHIBIT A
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                                                                    Following the Roberts Court's “civil procedure revival,” 5 the
                  2021 WL 5330783                                   landmark decisions of Bell Atlantic Corporation v. Twombly 6
   Only the Westlaw citation is currently available.                and Ashcroft v. Iqbal 7 tightened the standard that district
   United States District Court, M.D. Pennsylvania.
                                                                    courts must apply to 12(b)(6) motions. 8 These cases “retired”
 IN RE: GEISINGER HEALTH AND EVANGELICAL                            the lenient “no-set-of-facts test” set forth in Conley v. Gibson
     COMMUNITY HOSPITAL HEALTHCARE                                  and replaced it with a more exacting “plausibility” standard. 9
       WORKERS ANTITRUST LITIGATION
                                                                    Accordingly, after Twombly and Iqbal, “[t]o survive a motion
                       No. 4:21-CV-00196                            to dismiss, a complaint must contain sufficient factual matter,
                                |                                   accepted as true, to ‘state a claim to relief that is plausible
                           11/16/2021                               on its face.’ ” 10 “A claim has facial plausibility when
                                                                    the plaintiff pleads factual content that allows the court to
Matthew W. Brann, Chief United States District Judge                draw the reasonable inference that the defendant is liable
                                                                    for the misconduct alleged.” 11 “Although the plausibility
MEMORANDUM OPINION NOVEMBER 16, 2021 I.
                                                                    standard does not impose a probability requirement, it does
BACKGROUND
                                                                    require a pleading to show more than a sheer possibility that
 *1 On March 18, 2021, Plaintiffs Nichole Leib, Kevin
Brokenshire, Diane Weigley, and Jessica Sauer filed their           a defendant has acted unlawfully.” 12 Moreover, “[a]sking
First Amended Complaint individually and on behalf of all           for plausible grounds...calls for enough facts to raise a
others similarly situated. Plaintiffs allege that Defendants        reasonable expectation that discovery will reveal evidence of
Geisinger Health and Evangelical Community Hospital                 [wrongdoing].” 13
agreed not to poach each other's healthcare workers
in violation of the Sherman Antitrust Act of 1890                    *2 The plausibility determination is “a context-specific task
and Pennsylvania's Unfair Trade Practices and Consumer              that requires the reviewing court to draw on its judicial
Protection Law.                                                     experience and common sense.” 14 No matter the context,
                                                                    however, “[w]here a complaint pleads facts that are merely
On May 17, 2021, Defendants filed a joint motion to dismiss         consistent with a defendant's liability, it stops short of the
for failure to state a claim and, alternatively, to strike class    line between possibility and plausibility of entitlement to
allegations. The motion is now ripe for disposition; for the
                                                                    relief.” 15
reasons that follow, it is denied in part and granted in part.
Further leave to amend is not granted.
                                                                    When disposing of a motion to dismiss, the Court “accept[s]
                                                                    as true all factual allegations in the complaint and draw[s] all
II. DISCUSSION                                                      inferences from the facts alleged in the light most favorable
                                                                    to [the plaintiff].” 16 However, “the tenet that a court must
A. Motion to Dismiss Standard                                       accept as true all of the allegations contained in a complaint
Under Federal Rule of Civil Procedure 12(b)(6), the Court
                                                                    is inapplicable to legal conclusions.” 17 “Threadbare recitals
dismisses a complaint, in whole or in part, if the plaintiff has
                                                                    of the elements of a cause of action, supported by mere
failed to “state a claim upon which relief can be granted.” A
                                                                    conclusory statements, do not suffice.” 18
motion to dismiss “tests the legal sufficiency of a claim” 1 and
“streamlines litigation by dispensing with needless discovery
                                                                    As a matter of procedure, the United States Court of Appeals
and factfinding.” 2 “Rule 12(b)(6) authorizes a court to            for the Third Circuit has instructed that:
dismiss a claim on the basis of a dispositive issue of law.” 3
This is true of any claim, “without regard to whether it is based
on an outlandish legal theory or on a close but ultimately                        Under the pleading regime established
                   4                                                              by Twombly and Iqbal, a court
unavailing one.”
                                                                                  reviewing the sufficiency of a
                                                                                  complaint must take three steps. First,


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            it must tak[e] note of the elements                   Pennsylvania. 30 Indeed, this agreement suppressed job
            [the] plaintiff must plead to state                   ability and wages for Plaintiffs, whom Defendants
            a claim. Second, it should identify
                                                                  employed. 31 Without the no-poach agreement, Defendants
            allegations that, because they are no
                                                                  would have competed for Plaintiffs’ labor, thus resulting in
            more than conclusions, are not entitled
            to the assumption of truth. Finally,                  higher wages. 32
            [w]hen there are well-pleaded factual
            allegations, [the] court should assume
                                                                  C. Analysis
            their veracity and then determine
            whether they plausibly give rise to an                1. Sherman Act § 1
                                     19
            entitlement to relief.
                                                                  a. Article III Standing
                                                                  First, Defendants argue that Plaintiffs lack Article III standing
                                                                  because they have not plausibly alleged an actual injury. For
                                                                  Article III standing, plaintiffs must plead an “injury in fact”
B. Facts Alleged in the Amended Complaint
                                                                  that is “actual or imminent, not ‘conjectural’ or ‘hypothetical.’
The facts alleged in the Amended Complaint, which I must
accept as true for the purposes of this motion, are as follows.   ” 33 This injury must be “causally connected and traceable to
                                                                  an action of the defendant.” 34
Geisinger Health is the largest health system in Central
Pennsylvania. 20 And Evangelical Community Hospital               Here, Plaintiffs allege that the no-poach agreement artificially
is Central Pennsylvania's largest independent community           reduced their wages. 35 Plaintiffs also allege that absent the
hospital. 21 Together, these Defendants employ 70 to              no-poach agreement, Defendants would compete for each
75 percent of hospital healthcare workers in Central              other's employees, thus increasing pay and job mobility. 36 At
Pennsylvania. 22                                                  the pleading stage, these allegations plausibly show an injury
                                                                  for Article III standing. 37
At least as early as 2010, Defendants agreed to not poach
each other's physicians, nurses, psychologists, therapists, and   Defendants counter that Plaintiffs cannot show injury because
other healthcare professionals in Central Pennsylvania.     23    they do not allege that they sought work at other hospitals.
Defendants’ senior executives periodically reaffirmed,            Defendants analogize this to Finkelman v. National Football

monitored, and policed this no-poach agreement. 24 For            League. 38 The Finkelman plaintiffs claimed a conspiracy
example, after learning that Geisinger had been recruiting        to raise Super Bowl ticket prices. 39 Because one of these
Evangelical's nurses, Evangelical's CEO emailed Geisinger to      plaintiffs “chose not to purchase any tickets,” he “suffered
“please ask that this stop.” 25 The Geisinger executive then      no more injury than any of the possibly tens of thousands
forwarded this email to Geisinger's Vice President of Talent      of people who thought about purchasing a ticket to the
Acquisition, instructing her to “ask your staff to stop this      Super Bowl and chose not to.” 40 And “the amount of any
activity with Evangelical.” 26                                    damages...suffered due to the NFL's alleged misconduct [was]
                                                                  completely indeterminate.” 41 Thus, the Third Circuit held
Defendants also concealed their no-poach agreement. 27            that the plaintiff did not allege an injury-in-fact and affirmed
Instead of placing this agreement in writing, Defendants          his claim's dismissal. 42
trained new executives about it orally. 28 And when one of
the Defendants’ healthcare workers applied to work for the        But Finkelman did not involve no-poach agreements. And
other Defendant, both Defendants communicated about the           unlike that Finkelman plaintiff, Plaintiffs here are not one
                                                                  of “tens of thousands of people who thought about” doing
applicant without the applicant's knowledge. 29
                                                                  something. Rather, Plaintiffs are a more limited group of
                                                                  skilled healthcare professionals who worked for one of two
 *3 Defendants intended that this no-poach agreement
                                                                  Defendants. Thus, Finkelman does not require dismissal in
reduce competition for healthcare workers in Central
                                                                  the matter at hand.



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                                                                   result of the no-poach agreement, they have adequately pled
Defendants further counter that Plaintiffs cannot claim lower      antitrust standing.
wages as an injury because they have not plausibly alleged
market power. But “no market analysis is required at this
time” because Plaintiffs allege a per se violation of the          c. Conspiracy
                                                                   Next, Defendants argue that Plaintiffs do not plausibly allege
Sherman Act. 43 Therefore, Plaintiffs have plausibly alleged
an Article III injury at the pleading stage.                       a conspiracy under Section 1 of the Sherman Act. 56 Pleading
                                                                   a § 1 claim “requires a complaint with enough factual matter
                                                                   (taken as true) to suggest that an agreement was made.” 57
b. Antitrust Standing                                              “An agreement exists when there is a unity of purpose, a
Defendants also argue that Plaintiffs lack antitrust standing      common design and understanding, a meeting of the minds,
because they have not shown an antitrust injury. An
                                                                   or a conscious commitment to a common scheme.” 58
antitrust injury “is attributable to an anti-competitive aspect
of the practice under scrutiny.” 44 It “stems from a               Again, Plaintiffs allege that Defendants are competitors
competition-reducing aspect or effect of the defendant's           who agreed not to poach each other's physicians, nurses,
behavior.” 45 “If antitrust injury is not found, further inquiry   psychologists, therapists, and other healthcare professionals
is unnecessary.” 46                                                in Central Pennsylvania at least as early as 2010. 59 Plaintiffs
                                                                   further allege that Defendants periodically monitored and
 *4 Here, Plaintiffs allege that Defendants’ no-poach              policed this no-poaching agreement. 60
agreement was intended to and did suppress their wages and
job mobility. 47 Plaintiffs further allege that absent the no-     For example, Evangelical's CEO allegedly emailed Geisinger
poach agreement, Defendants would compete for each other's         after learning that Geisinger was recruiting Evangelical's
employees, thereby increasing pay and job mobility. 48 This        nurses. 61 In this email, Evangelical's CEO requested that
adequately alleges an antitrust injury. 49                         Geisinger “please ask that this stop.” 62 The Geisinger
                                                                   executive then forwarded this email to Geisinger's Vice
Defendants counter that Plaintiffs’ alleged injuries are too       President of Talent Acquisition, instructing her to “ask [her]
remote to confer antitrust standing. To support their argument,    staff to stop this activity with Evangelical.” 63
Defendants analogize this case to Associated General
Contractors of California, Inc. v. California State Council         *5 At the very least, Evangelical's email asking that
                           50
of Carpenters (“AGC”).        In AGC, two unions sued an           Geisinger stop recruiting its nurses and Geisinger's
association of construction contractors for diverting contracts    subsequent instructions that recruiting staff “stop this activity
to nonunion firms. 51 But “the chain of causation between          with Evangelical” permit an inference of a no-poaching
the Union's injury and the alleged restraint in the market         agreement. Indeed, district courts have found that similar
for construction subcontracts contain[ed] several somewhat         communications support Sherman Act § 1 conspiracy

vaguely defined links.” 52 “It [was] obvious that any such         claims. 64 Therefore, Plaintiffs have plausibly alleged a no-
injuries were only an indirect result of whatever harm may         poaching agreement.
have been suffered by [union] construction contractors and
                                                                   Defendants further argue that a civil enforcement action by
subcontractors.” 53 Thus, the Supreme Court of the United
                                                                   the United States Department of Justice does not salvage
States held that the unions did not have antitrust standing. 54    Plaintiffs’ Complaint. But as I explain above, Plaintiffs’
                                                                   specific allegations regarding a no-poach agreement and the
Unlike in AGC, Plaintiffs in this matter do not allege injuries    efforts to police it are sufficient at this stage. So Plaintiffs’
resulting from harm to another party. Instead, Plaintiffs          Complaint does not need salvaging. Defendants’ motion to
allege that they personally suffered lower wages as a direct       dismiss is denied as to Plaintiffs’ Sherman Act claim.
and proximate result of Defendants’ no-poach agreement. 55
Because Plaintiffs allege that their injuries are a direct
                                                                   d. Class Allegations




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                                                                  In sum, this is not one of the rare cases in which the complaint
Defendants also move to strike Plaintiffs’ class allegations
                                                                  demonstrates that class certification is impossible. When
because they do not meet predominance, ascertainability, and
                                                                  Plaintiffs move to certify a class, Defendants may challenge
typicality requirements. “In this circuit, ‘class allegations
                                                                  predominance, ascertainability, and typicality again. But at
[are] stricken prior to a motion for certification only when
                                                                  this point, Defendants’ motion to strike class allegations is
class certification is a clear impossibility.’ ” 65 Indeed, the
                                                                  denied.
Third Circuit has held that “the complaint itself demonstrates
that the requirements for maintaining a class action cannot be
met” in only a “rare few” cases. 66                               2. Pennsylvania Unfair Trade Practices and Consumer
                                                                  Protection Law
                                                                  Finally, Defendants argue that Plaintiffs lack standing and
Beginning with predominance,          Federal Rule of Civil
                                                                  otherwise fail to state a claim under Pennsylvania's Unfair
Procedure 23(b)(3) requires that “the questions of law or fact
                                                                  Trade Practices and Consumer Protection Law. Indeed,
common to class members predominate over any questions
                                                                  Plaintiffs explicitly abandon this claim in their response
affecting only individual members.” Here, Plaintiffs allege
that many questions of law and fact are common to the             brief. 75 Plaintiffs’ state law claim is therefore dismissed.
class, including whether the no-poach agreement violated
Section 1 of the Sherman Act and the appropriate measure
                                                                  III. CONCLUSION
of damages. 67 Plaintiffs further allege that the no-poach        Defendants’ motion to dismiss pursuant to Rule 12(b)(6) is
agreement had a common impact on the class members                denied as to Plaintiffs’ first claim for relief under the Sherman
by similarly suppressing their wages. 68 These allegations        Act. This federal antitrust claim survives. Defendants’ motion
sufficiently indicate predominance at the pleading stage. 69      to strike class allegations is also denied.


Proceeding to ascertainability, Defendants argue that             Defendants’ motion to dismiss pursuant to Rule 12(b)(6)
Plaintiffs’ proposed class lacks any objective criteria to        is granted with prejudice as to Plaintiffs’ second claim for
determine who falls within it. But “ascertainability only         relief, which alleges a violation of Pennsylvania law. Leave to
requires the plaintiff to show that class members can             amend is not granted. “Among the grounds that could justify
                                                                  a denial of leave to amend are undue delay, bad faith, dilatory
be identified.” 70 And Plaintiffs allege that Defendants
exclusively control business records identifying healthcare       motive, prejudice, and futility.” 76 A complaint is “futile”
                                                                  if it would fail to state a claim upon which relief could be
professionals in the class. 71 These allegations plausibly
                                                                  granted even as amended. 77 Amendment would be futile here
indicate ascertainability at the pleading stage. 72
                                                                  because Plaintiffs’ response brief explicitly abandons their

 *6 As for typicality,     Defendants argue that Plaintiffs’      state law claim. 78
claims are not typical      of the proposed class's claims
because the email from     Evangelical's CEO only concerns        An appropriate Order follows.
nurses. But “[v]arying     fact patterns do not necessarily
                                                                    BY THE COURT:
defeat typicality.” 73 “[C]ases challenging the same unlawful
conduct which affects both the named plaintiffs and the             s/ Matthew W. Brann
putative class usually satisfy the typicality requirement
irrespective of the varying fact patterns underlying the
                                                                  Matthew W. Brann
individual claims.” 74 And Plaintiffs challenge the same
conduct here: Defendants’ no-poach agreement. Thus, the           Chief United States District Judge
email regarding the nurses’ recruiting does not defeat
typicality at this stage.                                         All Citations

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       (“Plaintiffs meet the requirements for Article III standing” because they “allege that their salaries were
       artificially reduced as a result of Defendants’ alleged anticompetitive conduct and that their injury can be
       redressed through the payment of damages should Plaintiffs establish liability.”).
38
           810 F.3d 187 (3d Cir. 2016).
39     Id. at 188.
40     Id. at 195.
41     Id.
42     Id. at 196.
43
         High-Tech, 856 F. Supp. 2d at 1122.
44
           Atl. Richfield Co. v. USA Petroleum Co., 495 U.S. 328, 334 (1990).
45     Id. at 344.
46
           City of Pittsburgh v. W. Penn Power Co., 147 F.3d 256, 265 (3d Cir. 1998).
47     Doc. 46 at ¶ 3.
48     Id. at ¶¶ 41–48, 80.
49
       See      High-Tech, 856 F. Supp. 2d at 1123 (holding that “Plaintiffs have adequately pled antitrust
       injury” because they “have asserted that their salary and mobility were suppressed by Defendants’
       agreements not to cold call, and that the alleged agreements were entered into to suppress competition for
       skilled labor”).
50
           459 U.S. 519 (1983).
51     Id. at 520–21.
52     Id. at 540.
53     Id.
54     Id. at 546.
55     Doc. 46 at ¶¶ 80, 82, 88.
56
         15 U.S.C. § 1.
57
         Twombly, 550 U.S. at 556.
58
           W. Penn Allegheny Health Sys., Inc. v. UPMC, 627 F.3d 85, 99 (3d Cir. 2010).
59     Doc. 46 at ¶¶ 1–6.
60     Id. at ¶ 9.
61     Id.
62     Id.
63     Id.
64
       See     United States v. eBay, Inc., 968 F. Supp. 2d 1030, 1036 (N.D. Cal. 2013) (“For instance,
       the allegation that Mr. Cook responded to Ms. Whitman's complaints about Intuit's continued solicitation of
       eBay employees by promising to investigate ‘how this slip up occurred again’ suggests not only that an
       agreement between the two companies had been established, but also that Intuit executives other than Mr.
       Cook generally abided by it.”); see also In re Pressure Sensitive Labelstock Antitrust Litig., 566 F. Supp. 2d
       363, 375 (M.D. Pa. 2008) (“At a minimum, this email is sufficiently ambiguous to support an inference of an
       anti-competitive agreement.”).
65     Dieter v. Aldi, Inc., No. CV 2:18-00846, 2018 WL 6191586, at *6 (W.D. Pa. Nov. 28, 2018)
       (quoting 5C Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 1383 (3d ed. 2018)).
66
              Landsman & Funk PC v. Skinder-Strauss Assocs., 640 F.3d 72, 93 n. 30 (3d Cir. 2011), opinion
       reinstated in part, No. 09-3105, 2012 WL 2052685 (3d Cir. Apr. 17, 2012).
67     Doc. 46 at ¶¶ 70–71.
68     Id. at ¶ 47.


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69
       See   In re High-Tech Emp. Antitrust Litig., 985 F. Supp. 2d 1167, 1214 (N.D. Cal. 2013) (“First,
       the Court finds, as it did previously, that [Plaintiffs]...offer theories subject to common proof for how
       Defendants’ antisolicitation agreements suppressed compensation broadly.”).
70
           Carrera v. Bayer Corp., 727 F.3d 300, 308 n. 2 (3d Cir. 2013).
71     Doc. 46 at ¶¶ 68–69.
72     See Trunzo v. Citi Mortg., No. 2:11-CV-01124, 2018 WL 741422, at **7–8 (W.D. Pa. Feb. 7,
       2018) (holding that “Plaintiffs have met their burden of advancing a prima facie showing that discovery is
       likely to produce substantiation of the class allegations with respect to ascertainability” because Defendant
       “allegedly has business records and billing records that can alone identify who fits within the class
       description”).
73     Id. at *10.
74
         Baby Neal for & by Kanter v. Casey, 43 F.3d 48, 58 (3d Cir. 1994).
75     Doc. 56 at 9.
76
         Shane v. Fauver, 213 F.3d 113, 116 (3d Cir. 2000) (quoting In re Burlington Coat Factory
       Sec. Litig.,  114 F.3d 1410, 1434 (3d Cir. 1997)).
77     Id.
78     Doc. 56 at 9.


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